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 6                       IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8   Manuel de Jesus Ortega Melendres, on             No. CV-07-2513-PHX-GMS
 9   behalf of himself and all others similarly
     situated; et al.                                 ORDER
10
                          Plaintiffs,
11
     and
12
     United States of America,
13
                          Plaintiff-Intervenor,
14
     v.
15
     Paul Penzone, in his official capacity as
16   Sheriff of Maricopa County, Arizona; et al.
17                        Defendants.
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19         The Court has received and reviewed the Monitor’s invoice dated September 1,
20   2022 for services rendered by the Monitor in August 2022. The Court finds the invoice
21   and charges to be reasonable and directs Maricopa County to authorize payment of the
22   Monitor’s invoice for the total amount, including any past due balance.
23         Dated this 8th day of September, 2022.
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